     Case 1:16-cv-00966-PLM-PJG ECF No. 10 filed 09/23/16 PageID.96 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

SUMMER THOMPSON,
                                                               Case No. 1:16-cv-966
                Plaintiff,
                                                               HON. PAUL L. MALONEY
v.

CONSUMER’S FIRST
MANAGEMENT, INC. et al.,

            Defendants.
_________________________/

                                    NOTICE OF SETTLEMENT

         The parties have agreed to settle this action and intend to file closing documents no later

than November 30, 2016

Dated: September 23, 2016                              /s/ Phillip C. Rogers
                                                       Phillip C. Rogers (P34356)
                                                       Attorney for Plaintiff
                                                       40 Pearl Street, N.W., Suite 336
                                                       Grand Rapids, Michigan 49503-3026
                                                       (616) 776-1176
                                                       ConsumerLawyer@aol.com
